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UNITED STATES DISTRICT COURT                                                                01/12/2023
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
MARIE S. MOMBRUN,                                              :
                                                               :   ORDER
                           Plaintiff,                          :
         -v-                                                   :   22-CV-4970 (PGG) (JLC)
                                                               :
THE NEW YORK HOTEL PENSION                                     :
FUND and MATTHEW E. KELERCHIAN, :
                                                               :
                           Defendants.                         :
---------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        The Court held an initial case management conference today. At the

conference, counsel for defendants agreed to send plaintiff, who is proceeding pro se,

the necessary paperwork so she may apply for her pension. Once received, plaintiff

should complete and submit the paperwork as soon as possible. In addition, counsel

for defendants agreed to provide plaintiff’s January 2022 letter contesting the

calculation of her pension to the Board of Trustees of the New York Hotel Trades

Council and Hotel Association of New York City, Inc. Pension Fund, so they may

consider the correspondence as plaintiff’s appeal of the pension currently awarded

to her. 1




1  Per defendants’ answer dated December 21, 2022 (Dkt. No. 13), the correct name
for the defendants is “New York Hotel Trades Council and Hotel Association of New
York City, Inc. Pension Fund,” not “The New York Hotel Pension Fund” as is stated
in the caption and complaint.
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      The Court hereby stays the case for 90 days to allow for these events to

unfold, as they may eliminate the need for further litigation. Counsel for

defendants is directed to provide a status update to the Court by April 14, 2023.

             SO ORDERED.

Dated:       January 12, 2023
             New York, New York




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